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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

United States of America, ) Case No. CR | —A4O WAL
Plaintiff, STIPULATED ORDER EXCLUDING TIME
v. ) UNDER THE SPEEDY TRIAL ACT
eee en Aleksandrvich) FILED
Auiing, entione ; APR -4 2018

i — SUSAN Y. SO
For the reasons stated by the parties on the record on A | 20!8 ; the Court ex hides time unvfenthe
Speedy Trial Act from 4/4 /20% , to (OP Se78, and finds that the URS PFASERL MER

by the continuance outweigh the best interest of the public'and the defendant in a speedy trial. See 18 U.S.C. §
3161(h)(7)(A). The Court makes this finding and bases this continuance on the following factor(s):

Failure to grant a continuance would be likely to result in a miscarriage of justice.
See 18 U.S.C. § 3161(b)(7)(B)G).

The case is so unusual or so complex, due to [check applicable reasons] ____ the number of
defendants, the nature of the prosecution, or the existence of novel questions of fact
or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
itself within the time limits established by this section. See 18 U.S.C. § 3161(h)(7)(B)(ii).

Failure to grant a continuance would deny the defendant reasonable time to obtain counsel,
taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)Civ).

Failure to grant a continuance would unreasonably deny the defendant continuity of counsel, given—__
counsel’s other scheduled case commitments, taking into account the exercise of due diligence.
See 18 U.S.C. § 3161(h)(7)(B)(iv).

“Failure to grant.a continuance would unreasonably deny the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence.
See 18 U.S.C. § 3161(h)(7)(B)(iv).

 

IT IS SO ORDERED. St, |
DATED: Ny Yer CT Aral Wir

Unite Magistrate Judge

‘STIPULATED: hd ALLY Ay UMA -

(Attorney for/Defendanl a United States Attorney

 
